%   Case 2:04-cr-00177-GMN-NJK
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     UNITED STATESOFAM ERICA,                         )
                                                      )
                           Plaintiff,                 )
                                                      )
             v.                                       )          2:04-CR-177-6MN (PAL)
                                                      )
     FLORIN IANCU,                                    )
                                                      )
                           Defendant.                 )
                                     FIN A L O R D ER O F FO R FEITU RE
             On April20,2011,the United StatesDistrictCourtforthe DistlictofNevada entered a

     PreliminaryOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2))andTitlel8,United
     StatesCode,Section 1963(a)(3),basedupon thepleaofguiltybydefendantFLORIN IANCU to a !
     crim inaloffense,forfeiting speciticproperty alleged in the Second Superseding Crim inallndictm ent
     and agreed to in the Plea M em orandum and show n by the U nited Statesto have arequisite nexusto
     theoffense to which defendantFLORIN IANCU pled guilty. Docket#267,#293,$294,#296.               (
                                                                                                     !
             Thi                                                                                     l
                s Courttinds the United States of Am erica published the notice of the forfeiture in l
     accordance with the law via the oflicialgovernmentinternetforfeiture site,www.forfeiture.gov,
     consecutively from M ay 4,2011,through June 2,201l,notifying allknow n third partiesoftheirright
     to petition the Court.//297.
             This Courttinds no petition w astlled herein by oron behalfofany person orentity and the
     tim e forfiling such petitions and claim shasexpired.




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         ThisCourtfindsnopetitionsarepending withregardtotheassetsnamed herein and thetim e
 forpresenting such petitionshas expired.
         THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AN D DECREED thata1lright,
 title,and interestin the property hereinafterdescribed iscondemned,forfeited,and vested in the

 United StatesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 32.2(c)(2);Titlel8,UnitedStatesCode,Section1963(a)(3);andTitle21,UnitedStatesCode,Section
 853(n)(7)andshallbedisposedofaccordingtolaw:
                         SonyVaioDeskTopcomputer(serialnumber:284711373004449);
               (2)    CompaqPresariolaptopcomputer(serialnumber:6D2D CH371W 9);
               (3)    HewlettPackard Iaptopcomputer(serialnumber:TW 13920335);
               (4)    Valiant67lDP laptopcomputer(serialnumber:T0140E300850);
               (5)    automatedtellermachine(dçATM'');
               (6)    Toshibalaptopcomputer(serialnumber:2304502P1.9;
               (7)    HP Pavilion753N (serialnumber:51X23605319);
               (8)    Panasonicpalmcordermini-dvcamera,modelPV-DV (serialnumber:
                      8N07131008488),
                                    .
               (9)    HP OfliceJetprinter(serialnumber:MYI6CB-ZIYP);
               (10) VEO Stingrayvideocamera(serialnumber:330VB2AX000-771);
                      Olympusdigitalcamera(serialnumber:237238802);
               (12) CompaqConturalaptopcomputer(serialnumber:75291-1P823352);
               (13) SonyVaiolaptop computer(serialnumber:283216303205876);
               (14) HP laptopcomputer(serialntlmber:TW 21618644'
                                                               );
               (15) Qumltum Hard drive(serialnumber:652028547895136ZXX);
               (16) SonyMVC-CD 300digitalcamera(serialnumber:341794);
               (17) JVC digitalvideocameraDVM -90(serialnumber:09660914);
               (18) SopyDigitalPhotoPrinterDPP-EXS(serialnumber:312788);
               (19) BrotherLX-900Printer(serialnumber:US2543-M 0.135);
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               (20) SonyLCD M onitor(serialnumber:0424888);
               (21) SharpDisplayMonitor(serialnumber:203418267);and
               (22) aninpersonam criminalfodkituremoneyjudgmentof$l,000,000.00inUnited
 StatesCurrency.
         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatanyand al1forfeited
 funds,including butnotlim itedto,currency,currency equivalents,certificatesofdeposit,aswell
 asanyincom ederived asaresultofthe United StatesofAmerica'sm anagem entofany property
 forfeited herein,andtheproceedsfrom thesaleofany forfeited property shallbedisposed of
 accordingto law .
         The Clerk ishereby directed to send copiesofthisOrderto al1counselofrecord andthree
 certified copiesto the United StatesAttorney'sOftice.
         D A TED this            day of                     ,2011
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